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                      UNITED STATES DISTRICT COURT FOR THE
                              DISTRICT OF COLUMBIA


     MASSACHUSETTS COALITION FOR                      No.: 1:20-cv-3438-TNM
     IMMIGRATION REFORM, et al.,
                                                      DEFENDANTS’ BRIEF IN
                     Plaintiffs,                      OPPOSITION TO PLAINTIFFS’
                                                      MOTION FOR LEAVE TO FILE
                           v.                         SUPPLEMENTAL/ AMENDED
                                                      COMPLAINT
     U.S. DEPARTMENT OF HOMELAND
     SECURITY, et al.,                                (ECF No. 58)

                      Defendants.



        Plaintiffs’ motion for leave to amend their complaint to challenge two additional agency

policies should be denied. First, Plaintiffs could have brought this motion at least six months

earlier but chose not to for strategic litigation reasons. This undue delay is fatal. Second, leave to

supplement or amend the First Amended Complaint would be highly prejudicial because it will

delay expeditious resolution of this case, which has been pending for over three years, gone

through multiple rounds of dispositive briefing, and is now narrowed to one factual issue

regarding a small sub-set of the original plaintiffs. Third, amendment at this juncture is futile

because the new claims that Plaintiffs seek to pursue are not ripe for review. And finally, denial

would not be prejudicial to Plaintiffs, as they remain free to challenge the additional actions—

when and if their claims become ripe—through a new lawsuit.

I.      BACKGROUND

        A.     The Initial Complaint

        Plaintiffs Massachusetts Coalition for Immigration Reform (“MCIR”) and eight

individuals from Minnesota, Massachusetts, and Pennsylvania initiated lawsuits, now

consolidated, see ECF No. 12, on November 24, 2020 in this Court and in the District of


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Minnesota. See Compl. for Decl. & Injunctive Relief (“Initial Compl.”), ECF No. 1. In the Initial

Complaint, Plaintiffs asserted claims under the Administrative Procedure Act (“APA”) and the

National Environmental Policy Act (“NEPA”) challenging an internal Department of Homeland

Security (“DHS”) instruction manual and at least 80 visa- and immigration-related actions dating

back to the early 1980s based on an alleged failure to conduct an environmental analysis of the

challenged actions. Initial Compl. ¶¶ 85-99. Defendants moved to dismiss. Defs.’ Mot. to

Dismiss, ECF No. 14. Rather than respond to the motion to dismiss, Plaintiffs amended their

complaint. Am. Compl. for Decl. & Inj. Relief (“FAC”), ECF No. 17.

         B.     The First Amended Complaint and Rulings on Dispositive Motions

         Plaintiffs’ First Amended Complaint challenged approximately a dozen actions taken by

DHS, the Department of State, and the Department of Justice during the Biden Administration

and added two plaintiffs who allegedly live or work in southeastern Arizona. 1 Defendants moved

to dismiss the FAC for lack of standing and failure to state a claim. Defs.’ Mot. to Dismiss FAC,

ECF No. 19. The Court granted in part and denied in part Defendants’ motion. Mem. & Order,

ECF No. 27. Defendants then answered the FAC, Fed. Defs.’ Answer to Am. Compl., ECF No.

32, and compiled administrative records on the nine remaining claims. Defs.’ Notice of Filing a

Certified List of the Contents of the Admin. Records, ECF No. 33. The parties briefed cross-

motions for summary judgment on the remaining claims. See Pls.’ Mot. for Summ. J., ECF No.

34; Defs.’ Cross-Mot. for Summ. J. (“Defs.’ Summ. J. Br.”), ECF No. 37.

         Following briefing and oral argument, on September 30, 2023, the Court issued a

memorandum order granting in part and denying in part the parties’ cross-motions. Mem. Or.,

ECF No. 52. In its order, the Court dismissed on standing grounds all claims brought by MCIR


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    The FAC also dropped the four individual members of MCIR from Massachusetts.


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and the plaintiffs who live in Minnesota and Pennsylvania. ECF No. 52 at 42. And it dismissed

all claims brought by the Arizona plaintiffs—Steven Chance Smith and Gail Getzwiller—except

for the border wall claim in Count II and the Migrant Protection Protocols (“MPP”) portion of

Count III. Id. The Court determined that the only remaining disputed factual issues go to the

Arizona Plaintiffs’ standing to pursue those two claims. See id. at 28-29, 31-33. The Court thus

ordered an evidentiary hearing on Article III standing, where the Court will admit evidence, hear

the testimony of witnesses, and make credibility and factual determinations on matters relating to

the elements of standing (i.e., injury-in-fact, the traceability of injuries-in-fact to the two

governmental actions challenged, and redressability). Id. at 41-42.

        Relevant to the present motion, in Count IV of the First Amended Complaint, Plaintiffs

claimed that DHS failed to comply with NEPA in issuing a decision to allow Border Patrol

agents to issue a Notice to Report (“NTR”) for certain undocumented border crossers. As the

Court found, the NTR policy had been replaced in November 2021 with a policy of using Parole

Plus Alternatives to Detention. Parole Plus Alternatives to Detention allowed Border Patrol

agents under certain circumstances, such as increased encounter numbers at the southwest

border, to parole undocumented migrants on a case-by-case basis for urgent humanitarian

reasons or significant public benefit with the condition that they “report to ICE within 15 days to

be processed for [a Notice to Appear].” Nov. 2, 2021 memorandum: Parole Plus Alternatives to

Detention, ECF No. 37-2 at 2-4. The Court thus dismissed Count IV as moot. ECF No. 52 at 19;

see Akiachak Native Cmty. v. U.S. Dep’t of Interior, 827 F.3d 100, 113 (D.C. Cir. 2016)

(“[W]hen an agency has rescinded and replaced a challenged regulation, litigation over the

legality of the original regulation becomes moot.”).




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       C.      The Proposed Second Amended Complaint

       On December 29, 2023, Plaintiffs moved for leave to file a supplemental or second

amended complaint (“SAC”), Pls.’ Mot. for Leave to File Supp./Am. Compl. (“Mot. for Leave”),

ECF No. 58. The SAC seeks to amend the FAC by adding claims against the Parole Plus

Alternatives to Detention policy and the Parole with Conditions policy, which was authorized by

a May 10, 2023 memorandum. See Memorandum: “Policy on Parole with Conditions in Limited

Circumstances Prior to the Issuance of a Charging Document (Parole with Conditions),” ECF

No. 58-4 at 9-15. 2

       Both Parole Plus Alternatives to Detention and Parole with Conditions have been vacated

or enjoined by the District Court for the Northern District of Florida. See Florida v. United

States, 660 F. Supp. 3d 1239, 1285 (N.D. Fla. 2023) (vacatur of Parole Plus Alternatives to

Detention), appeal filed May 17, 2023; Florida v. Mayorkas, No. 3:23-cv-9962-TKW-ZCB,

2023 WL 3398099, at *7 (N.D. Fla. May 11, 2023) (enjoining Parole with Conditions). Both of

those rulings have been appealed to the United States Court of Appeals for the Eleventh Circuit.

II.    ARGUMENT

       While Rule 15 provides that amendments should be freely allowed, Fed. R. Civ. P. 15(a),

courts consider undue delay, bad faith, dilatory motive, repeated failure to cure deficiencies by

previous amendments, and futility of the amendment in determining whether to grant a motion to

amend. Firestone v. Firestone, 76 F.3d 1205, 1208 (D.C. Cir. 1996); see also Hall v. CIA, 437

F.3d 94, 101 (D.C. Cir. 2006) (noting “[d]elay and prejudice are precisely the matters to be




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  Defendants note that while the Court has dismissed all but two plaintiffs, the proposed second
amended complaint still proports to be brought by MCIR and the other previously dismissed
plaintiffs, effectively purporting to add those plaintiffs back into the litigation. See SAC, ECF
58-1 ¶¶ 25-34. Similarly, the proposed SAC fails to remove those claims resolved by the Court.

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addressed in considering whether to grant motions for supplemental pleadings”). Here, the

preponderance of factors demonstrate that leave should be denied, and Plaintiffs should be

required to bring a new case if they seek to challenge additional agency policies at this late stage

of this litigation.

        A.       Plaintiffs’ Proposed Amendment Is Too Late

        First, Plaintiffs have unduly delayed seeking to amend their complaint. DHS replaced the

NTR policy with the Parole Plus Alternatives to Detention policy in November 2021, more than

two years ago. And, even crediting Plaintiffs’ allegation that they were unaware of the policy

when it was promulgated, they were certainly aware of it by April 2023, when Defendants filed

their opening brief on summary judgment. There, Defendants explained that “Plaintiffs’

challenge to the March 2021 NTR policy is moot because DHS replaced the NTR policy in

November 2021 with a new policy”—Parole Plus Alternatives to Detention. Defs.’ Summ. J. Br.

36; see also ECF 37-2 at 1 (November 2, 2021 Parole Plus Alternatives to Detention

memorandum, providing it “will replace the use of NTR”).

        Rather than seeking to amend their complaint to challenge Parole Plus Alternatives to

Detention when it was enacted in 2021, or after Defendants pointed out that the NTR challenge

was moot in April 2023, Plaintiffs opted to argue that their challenge to the NTR policy was not

moot because it was indistinguishable from the Parole Plus Alternatives to Detention policy.

Pls.’ Resp. in Opp’n to Defs.’ Cross-Mot. for Summ. J. 5, ECF No. 41. Plaintiffs’ strategic

litigation choice to challenge the NTR policy meant that Defendants were obligated to prepare

the administrative record for the NTR policy and present a mootness argument, and that the

Court was obligated to expend judicial time and resources resolving it. Now, dissatisfied with

that result, Plaintiffs inappropriately seek to serially challenge agency policies in a single




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lawsuit. This sort of delay to engage in strategic decision-making falls well outside the

circumstances in which leave to amend should be given. See Bode & Grenier, LLP v. Knight,

808 F.3d 852, 860 (D.C. Cir. 2015) (motion to amend that “arrived four years after litigation

began, one year after summary judgment motions were decided, eight months after filing an

amended answer and only days before trial . . . is the very picture of undue delay.”).

       Plaintiffs seek to excuse their belated attempt to challenge a wholly different agency

action by characterizing the NTR, the Parole Plus Alternatives to Detention, and the Parole with

Conditions policies as part of a single “mass release” policy. Mot. for Leave. No such policy

exists. 3 NTRs, Parole Plus Alternatives to Detention, and Parole with Conditions are distinct

agency actions. Parole Plus Alternatives to Detention explicitly replaced the exercise of

prosecutorial discretion under NTRs with a different approach. Compare ECF No. 48-2, at

DHS_MCIR_008659-8664 (NTRs) with ECF No. 37-2 (Nov. 2, 2021) (Parole Plus Alternatives

to Detention). But even were the policies substantively the same, each new agency action must

be reviewed on its own administrative record. See Biden v. Texas, 597 U.S. 785, 807-808 (2022)

(holding October 29, 2021 memorandum terminating MPP was separate final agency action from

June 1, 2021 memorandum terminating MPP and remanding for consideration on whether the

October 29 memorandum complied with the APA); see also Akiachak, 827 F.3d at 113 (“[W]hen

an agency has rescinded and replaced a challenged regulation, litigation over the legality of the

original regulation becomes moot.”).




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  Indeed, if such a single policy did exist, that would have been all the more reason for Plaintiffs
to challenge Parole Plus Alternatives to Detention and Parole with Conditions earlier.

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        B.      Plaintiffs’ Proposed Amendment Will Unduly Delay This Litigation

        Plaintiffs’ late request to subject two new policies to judicial review will also be highly

prejudicial to the resolution of this case, in effect sending it back to square one. If Plaintiffs’

motion is granted, Defendants will need to respond to the amended complaint by filing a

dispositive motion, if warranted, or an answer. Defendants will then need to compile and/or

submit administrative records for the Parole Plus Alternatives to Detention and Parole with

Conditions policies so that the Court can conduct judicial review under the APA. And the parties

will need to brief summary judgement motions on the new policies. See Cayuga Nation v.

Bernhardt, 374 F. Supp. 3d 1, 9 (D.D.C. 2019) (In an APA case, “summary judgment is the

mechanism for deciding whether as a matter of law the agency action is supported by the

administrative record and is otherwise consistent with the APA standard of review.”) (cleaned

up).

        This additional APA review will necessarily require the parties to divert resources from

their ongoing discovery and efforts to prepare for the evidentiary hearing on standing set for June

2024. Nov. 30, 2023 Order, ECF No. 57. Because Plaintiffs must establish standing for each

claim that they assert, Jibril v. Mayorkas, 20 F.4th 804, 814 (D.C. Cir. 2021), Plaintiffs’ standing

to bring their new proposed Claim IV cannot simply be folded into the scheduled evidentiary

hearing on standing on the two active claims. Indeed, the two active claims—halting border

barrier construction and ending the Migrant Protection Protocols—seem particularly

disconnected from the new claims Plaintiffs seek to add, as nothing in the proposed second

amended complaint suggests that Parole Plus Alternatives to Detention and Parole with

Conditions cause environmental impacts in southeastern Arizona where the two remaining

Plaintiffs allege they live and work. And nothing in the standing declarations of the two




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remaining Plaintiffs alleges any harm specifically from Parole Plus Alternatives to Detention or

Parole with Conditions. Allowing Plaintiffs to amend their complaint would thus force this

litigation onto one of two tracks, both prejudicial to expeditious resolution of this case. Either the

current discovery process will need to be placed on hold while APA briefing on the Parole Plus

Alternatives to Detention and Parole with Conditions policies proceeds, or the evidentiary

hearing process as to Claims II and III will need to proceed simultaneously with APA judicial

review of the new Claim IV. Neither approach is consistent with the orderly disposition of the

case Plaintiffs filed more than three years ago.

       C.      Plaintiffs’ Proposed Amendment Is Futile

       An amendment at this juncture is futile. As Plaintiffs acknowledge, the Parole Plus

Alternatives to Detention and Parole with Conditions polices have been judicially vacated or

enjoined. See Mot. for Leave 4. For this reason, Plaintiffs’ proposed challenges to these policies

are not ripe for adjudication. Plaintiffs suggest that DHS could implement Parole Plus

Alternatives to Detention or Parole with Conditions if the policies are reinstated by the Eleventh

Circuit or the Supreme Court, Mot. for Leave 4-5, but the speculative possibility that the policies

might be reinstated does not render Plaintiffs’ claims ripe at this time. “A claim is not ripe for

adjudication if it rests upon contingent future events that may not occur as anticipated, or indeed

may not occur at all.” Texas v. United States, 523 U.S. 296, 300 (1998) (cleaned up).

       D.      Plaintiffs Are Not Prejudiced by Denial of Their Motion

       Finally, in sharp contrast to the disruption that Plaintiffs’ proffered amendment would

cause if granted, Plaintiffs will suffer no prejudice if the Court denies their motion for leave. If

Parole Plus Alternatives to Detention and Parole with Conditions are subsequently




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reimplemented Plaintiffs remain free to challenge those policies in a separate lawsuit at that time.

In the meantime, the parties can focus their efforts on the remaining issues in this lawsuit.

III.   CONCLUSION

       Plaintiffs offer no good reason for why they delayed in pursuing their claims. To allow

Plaintiffs to amend their complaint at this late stage of these proceedings would prejudice

Defendants and derail this case from coming to an orderly conclusion. Plaintiffs’ claims are

unripe and the simple solution for Plaintiffs is to bring a new lawsuit if and when their new

claims become ripe. For all of the foregoing reasons, Defendants respectfully request that the

Court deny the motion for leave.



 Dated: January 26, 2024                             Respectfully submitted,

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